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ONE Edge Marina Finance
                                      8               9              10             11               12               13             14
                               11/18/24        11/25/24         12/2/24        12/9/24         12/16/24         12/23/24       12/30/24
                               11/24/24         12/1/24         12/8/24       12/15/24         12/22/24         12/29/24         1/5/25

Cash in the Bank           $      (29,105) $      (100) $       (32,025) $            10   $           10   $      (100) $     (64,310)
Transfer from Marina       $       29,115 $        110 $         32,035 $         -        $       -        $       110 $       64,320
Beginning Cash Balance     $           10 $         10 $             10 $             10   $           10   $        10 $           10


Revenues
                           $         -     $       -      $        -      $       -        $       -        $       -      $       -

Insurance
Great American Insurance                   $     1,200                                                      $     2,400
Hanover Insurance - Ocean                  $    26,630                                                      $    53,260
Hanover Insurance - Worker Comp            $     1,801                                                      $     3,602
Hanover Insurance - Auto                   $     1,021                                                      $     2,042
Hanover Insurance - Ocean                  $     1,383                                                      $     2,766

Quickbooks                 $         110                                                   $      110

US Trustee Payment                         $       -                                                        $      250


Total Expense              $         110   $    32,035    $        -      $       -        $      110       $    64,320    $       -

P&L                        $        (110) $    (32,035) $          -      $       -        $      (110) $       (64,320) $         -
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              Marina

                                          11/18/24       11/25/24       12/2/24           12/9/24       12/16/24         12/23/24       12/30/24
End                                       11/24/24        12/1/24       12/8/24          12/15/24       12/22/24         12/29/24         1/5/25


All Cash in Bank                      $    98,251    $ 91,101       $ 239,235       $ 141,646       $ 175,624        $ 153,094      $ 40,209
DIP Loan Draw                                        $ 285,000                      $ 130,000

Transient                             $     5,000    $     2,500    $    1,000      $      1,000    $     1,000      $     1,000    $     1,000
Seasonal                              $       -      $       -      $      -        $        -      $       -        $       -      $       -
Total Revenues                        $     5,000    $     2,500    $    1,000      $      1,000    $     1,000      $     1,000    $     1,000

             Insurance


Hub International - Cyber Crime                      $       908                                                     $     2,309
First Insurance Funding                              $     1,119                                                     $     1,119
First Insurance Funding (Allied
World - Pollution)                                   $     2,576                                                     $     2,576

               Payroll

CEO                                                  $     7,805                    $      7,805                     $     7,805
COO                                                  $     6,639                    $      6,639                     $     6,639
Dockmaster                                           $     3,726                    $      3,726                     $     3,726
Asst Dockmaster                                      $     2,444                    $        -                       $       -
Facilities                                           $     3,222                    $      3,222                     $     3,222
Dockhand                              $       -      $       -      $      -        $        -      $       -        $     3,222    $       -
IT                                                   $     3,381                    $      3,381                     $     3,381
401K                                  $     1,783                   $    1,783                      $     1,783                     $     1,783

Payroll - Milo Consulting (payroll)                  $     2,100                    $      2,100                     $     2,100
Payroll - Overnight Security          $     2,020    $     2,020    $    2,020      $      2,020    $     2,020      $     2,020    $     2,020
Payroll - Bookkeeping                 $     2,500    $     2,500    $    2,500      $      2,500    $     2,500      $     2,500    $     2,500

           Heathcare                                 $     5,047                                                     $     5,047
Cobra Coverage                        $       -      $     1,879                                    $       -        $     1,879

Molo Platform Fees                    $      150     $        75    $          30   $         30    $           30   $        30    $           30

              Utilities
Con Edison                                                                          $     12,000                                    $     8,000
Internet (Verizon)                                                                  $        300                                    $       300
Phone Service (paid by SC)                                          $     350                                                       $       350

               Admin
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Dockwa                                               $     330                                                    $    330
Website Maintenance                  $          50                                                  $        50

Homefront Security (Camera Mtce)                     $      -     $    1,050                                      $     -        $   1,050
Security System                                                                   $        250
Tax Filing                           $    2,750                                   $      2,750                                   $   2,750
Quickbooks                                           $     256    $     587                                       $    256       $     287
MS Office                            $     502                    $     -                           $    502      $    -
Cisco Systems                                        $     425    $       60                                      $    425       $         60
Norton Anti Virus                                                 $     100                                       $    100
Logmein                                                                           $      1,700
Deputy                                                            $     290                                                      $    290
Zoho (Campaign)                                                   $      34                                                      $     50
Godaddy                              $     250       $      30                                      $    250      $     30
ADP (Bi weekly)                      $     260       $     325    $     260       $       325       $    260      $    325       $    260
Misc (Office Supplies)               $     250       $     250    $     250       $       250       $    250      $    250       $    250

            Fleet Costs
Maintenance                          $      -        $      250
RIB Maintenance and Storage          $      -        $    6,000   $    3,000      $      3,000
Sail Club Boat Storage               $      -        $   15,000   $   15,000
J80 Repair                                           $   15,000                                     $ 15,000
J80 Transportation                                   $    1,500                                     $    750
Swap Boats on Trailer                                $    2,000
Truck Fuel                           $          25   $       25   $          25   $            25   $        25   $         25   $         25

Truck Maintenance/Inspection         $    1,500      $     500    $     750

          Marina Supplies
D - Dock Stabilization               $      -        $    5,000   $      -        $        -        $    -        $     -        $     -
D -Plan A Fix (non piling)                           $      -     $      -        $     45,000
D - Dock Fix (piling)                                                             $        -
Sea Flex Lines                                                    $   38,000      $        -
Up and Over Bridges                                               $    7,500      $        -
Freshwater System                    $      -        $      -     $   10,000      $        -        $    -        $     -        $     -
Waste Water
Electrical - Inspection only                         $   15,000
Electrical - Repair                                               $   15,000

US Trustee Payment                                   $      -                                                     $    250

Transfer to ONE Edge for Insurance   $     110       $   32,035   $      -        $        -        $    110      $ 64,320       $     -


Total Expenses                       $   12,150      $ 139,366    $   98,589      $     97,023      $ 23,530      $ 113,885      $ 20,005

P&L                                  $   (7,150) $ (136,866) $ (97,589) $ (96,023) $ (22,530) $ (112,885) $ (19,005)
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        Sail Club

                              11/18/24         11/25/24       12/2/24        12/9/24       12/16/24         12/23/24       12/30/24        1/6/25
End                           11/24/24          12/1/24       12/8/24       12/15/24       12/22/24         12/29/24         1/5/25       1/12/25

Cash in the Bank          $     7,510      $     6,671    $    6,671    $     5,786    $     4,675      $     3,836    $     3,586    $    2,671
DIP Loan Draw
Beginning Cash Balance    $     7,510      $     6,671    $    6,671    $     5,786    $     4,675      $     3,836    $     3,586    $    2,671

Revenue                   $       -        $       -      $      -      $       -      $       -        $       -      $       -      $      -


US Sailing - Membership   $       -        $       -      $     550     $       -      $       -        $       -

EIDL                      $      617                                                   $      617
Annual Dinner
Zoho Billing              $           32                                               $           32
Gaggle Mail                                               $       10                                                   $       10
Constant Contact                                          $     170                                                    $      170
Microsoft                                                 $     -                                                      $      580
Godaddy                   $      190                                                   $      190
Smart Waiver                                              $       20                                                   $       20
Quickbooks                                                $     110                                                    $      110
Adobe                                                     $       25                                                   $       25
ADP                       $       -        $       -      $     -       $       -      $       -        $      -                      $     235
Misc                      $       -        $       -      $     -       $       -      $       -        $      -
Sales Tax Payable         $       -        $       -      $     -       $     1,111    $       -        $      -       $       -      $     750
US Trustee Payment                         $       -                                                    $      250


Total Expenses            $      839       $       -      $     885     $     1,111    $      839       $      250     $      915     $     985

Total P&L                 $      (839) $           -      $     (885) $      (1,111) $        (839) $          (250) $        (915) $       (985)
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                 Restaurant

Start                                      11/18/24       11/25/24         12/2/24          12/9/24       12/16/24         12/23/24       12/30/24
End                                        11/24/24        12/1/24         12/8/24         12/15/24       12/22/24         12/29/24         1/5/25

Cash in the Bank                       $ 11,480       $ 2,683          $ 28,514        $ 16,923       $ 13,682         $     9,266    $     1,462
DIP Loan Draw                          $    -         $ 40,000         $    -          $    -         $    -           $       -      $       -
Beginning Cash Balance                 $ 11,480       $ 42,683         $ 28,514        $ 16,923       $ 13,682         $     9,266    $     1,462
Sales                                  $    500       $    -           $    250        $    250       $    250         $       -      $       250


                      COGS                                                                                             $       -
Sales                                  $      475     $       -        $     238       $      238     $      238       $       -      $      238
                     Payroll
GM                                     $     1,595    $     1,595      $    1,595      $     1,595    $     1,595      $     1,595    $     1,595
Server                                 $     1,020    $       -        $    1,020      $     1,020    $     1,020      $     1,020    $     1,020

                 Health Care
GM - Michelle Dacalos                                                  $    2,785                                                     $     2,785
Floor Manager - Ryan Fay

                     Utilities
Con Edison                                            $     3,100                                                      $     3,100
National Grid                          $      480                                                     $      480
Internet (Verizon)                     $      -                        $     350                                                      $      350
Ooma (paid by SC)                                     $           35                   $        35

                      G&A
Bookkeeping (Savvy Accounting)         $      100     $       100      $     100       $      100     $      100       $       100    $      100
Office Expenses                        $       20     $         20     $      20       $       20     $       20       $         20   $       20
ADP                                    $      124     $       124      $     124       $      124     $      124       $       124    $      124
Toast POS                              $      210     $       220      $     100                                       $       220    $      100
Toast Merchant Fees                    $       18     $       -        $       9       $        9     $        9       $       -      $        9
Extermination                          $      125     $       125      $     125       $      125     $      125       $       125    $      125
Sanitation Removal                                    $     1,000                                                      $     1,000
Exhaust Hood & Precipitator            $     3,600    $     3,600                                     $       -        $       -
Grease Trap                                                            $    1,000
Plumbing                                                                               $      100                                     $      100
Refridgeration                                        $     1,500
Ice Machine                                           $     2,500
Fire Alarm (Crossfire)                 $      100                                      .              $      100
Ansul System                           $      550
HVAC                                                                   $    3,500
Fire Extinguisher Inspection                                           $      750

           License and Permits
Dues and Subscriptions - Adobe                        $       40                                                       $       40
Dues and Subscriptions - Quick Books                  $      110                                                       $      110
Dues and Subscriptions - Deputy.com                                    $      -                                                       $       -

Misc                                   $      100     $      100       $     100       $      100     $      100       $      100     $      100

Sales Tax Payable                      $        50    $       -        $          25   $        25    $           25   $       -      $           25

EIDL                                   $      731                      $      -                       $      731                      $      731

US Trustee Payment                                    $       -                                                        $      250


Total Expenses                         $     9,298    $ 14,169         $ 11,841        $     3,491    $     4,667      $     7,804    $     7,422

P&L                                    $ (8,798) $ (14,169) $ (11,591) $ (3,241) $ (4,417) $ (7,804) $ (7,172)
